
34 N.Y.2d 864 (1974)
The People of the State of New York, Respondent,
v.
Edward Kowalczyk, Also Known as Angelo Martin, Appellant.
Court of Appeals of the State of New York.
Submitted June 3, 1974.
Decided June 26, 1974.
Edward T. Robinson, III for appellant.
William Cahn, District Attorney (Henry P. DeVine and Jules E. Orenstein of counsel), for respondent.
Concur: Chief Judge BREITEL and Judges JASEN, GABRIELLI, JONES, WACHTLER, RABIN and STEVENS.
Order affirmed (see People v. Adams, 26 N Y 2d 129).
